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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                         NORTHERN DIVISION AT COVINGTON

 TIMOTHY GREGG,                                   :   CASE NO: 2:24-cv-00134-DCR
                                                  :
                Plaintiff,                        :   JUDGE: Danny C. Reeves
                                                  :
        vs.                                       :   PARTIES’ JOINT RESPONSE TO
                                                  :   SHOW CAUSE AND STATUS REPORT
 ST. ELIZABETH MEDICAL CENTER,                    :
 INC.,                                            :
                                                  :
                Defendant.                        :

       NOW COME the Parties, Timothy Gregg and St. Elizabeth Medical Center, Inc., and

hereby file their Joint Response to the Court’s January 10, 2025 Show Cause and provide the Court

a Status Report on the matter.

       Response to Show Cause

       The Parties apologize to the Court for missing the January 6, 2025 Status Report deadline.

The abnormal 2024 holiday schedule, with holidays occurring mid-week, was a disruption to the

normal workflow of private practice. Additionally, January 5th and 6th were the preparation for,

and experience of, one of the largest winter snow events in the region’s history. The counties

surrounding the Court were subject to snow emergencies, road and school closures, and an overall

stoppage of “normal” day to day activities. The combination of the above unique circumstances

accounted for the Parties’ inexcusable neglect in filing the January 2025 Status report.

       To ensure that no future deadlines are missed, the Parties have agreed on a mutual

calendaring system with reminder emails to hold all accountable for the obligations to the Court.

The Parties Respectfully Request that the Court accept the following Status Report and not issue

an order for an in-person conference.
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       Status of the Case

       The Parties have been making progress in advancing the case. Each side has served upon

the other his/its first set of written discovery requests. Plaintiff served discovery on Defendant on

November 8, 2024. Defendant responded to the Interrogatories and Requests for Admission on

December 9, 2024. Defendant will tender its responses to Plaintiff’s Request for Production of

Documents on January 29, 2025, pursuant to an agreement for addition time to tender responses.

       Defendant served its written discovery on Plaintiff on December 9, 2024. Pursuant to an

agreed extension of time to respond, Plaintiff will respond to the Interrogatories on or before

January 22, 2025 and the Request for Production of Documents on or before January 29, 2025.

       The Parties anticipate oral discovery starting in late February to early March 2025. Further,

the Parties have discussed engaging a mediator at the completion of oral discovery, and prior to

dispositive motion briefing.



Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

        I hereby certify that on January 13, 2025 the foregoing has been filed with the Court’s

CM/ECF system which shall electronically serve all counsel of record:



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                                            __/s/ Robb S. Stokar____ ______
                                            Robb S. Stokar (Admitted PHV)




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